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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Ellijay East Nutrition, LLC                           Case No.: 23−20295−jrs
       24 Rose Court                                         Chapter: 7
       Ellijay, GA 30540                                     Judge: James R. Sacca

       86−3637216




                    ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION,
                          DISCHARGING TRUSTEE AND CLOSING ESTATE



It appearing to the Court that

                                                   Bradley J. Patten



the Trustee in said case, has filed a report of no distribution and that said Trustee has performed all other and further
duties as required in the administration of said estate;

IT IS THEREFORE ORDERED that said report be and it hereby is approved and that the said estate be and it
hereby is closed; that the Trustee be and hereby is discharged from and relieved of the trust.




                                                             James R. Sacca
                                                             United States Bankruptcy Judge


Dated: August 22, 2023
Form 184
